     Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 1 of 17. PageID #: 14724




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


JAMES HAYDEN,                            )
                                         )
                                             CASE NO. 1:17-cv-02635-CAB
        Plaintiff,                       )
                                         )
                                             JUDGE CHRISTOPHER A. BOYKO
v.                                       )
                                         )
2K GAMES, INC., et al.,                  )
                                         )
        Defendants.                      )




            PLAINTIFF’S BRIEF REGARDING IMPACT OF WARHOL CASE
   Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 2 of 17. PageID #: 14725




  I.     INTRODUCTION

         The forthcoming Supreme Court decision in Andy Warhol Foundation for Visual Arts,

Inc. v. Goldsmith (“Warhol”) is highly unlikely to have any impact on this case given the unique

facts in Warhol, which are simply not present here. In Warhol, artist Andy Warhol modified an

original black and white photo of the musician Prince into a brightly colored, highly stylized

print. In this case, on the other hand, Take-Two makes an exact copy of the copyrighted tattoos

in question (“Tattoos”) and replicates them in its NBA 2K video games. Other than adapting the

size of the tattoos to its game, Take-Two is not changing the works at all. Thus, the issue before

the Supreme Court—whether Warhol’s modification of the Prince photo conveyed a different

“meaning or message”—is simply not present here, where Take-Two is copying the Tattoos

exactly.

       Goldsmith         Orange Prince            Hayden “Gloria”          Take-Two Copy of
       Photograph                                     Tattoo                “Gloria” in NBA
                                                                                 2K16




         The Petitioner in Warhol, the Andy Warhol Foundation, asks the Supreme Court whether

the Second Circuit erred by ignoring the different “meaning or message” conveyed in Andy

Warhol’s “Orange Prince” work when determining whether the work was “transformative” under



                                                 1
   Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 3 of 17. PageID #: 14726




the first fair use factor. Although the answer to this question may impact appropriation artists

who modify, adapt, and transform pre-existing works into new artwork, imbuing them with new

messages and meanings, it is of no import here.

        Take-Two is undoubtedly not an artist like Andy Warhol seeking to convey new meaning

or message by modifying another artist’s work. Take-Two actually avoids modifying the Tattoos

in question because Take-Two purports to maximize “realism” in its NBA 2K games. It

generates exact copies of the Tattoos to purportedly display the NBA players in its game exactly

as they appear in real life. Take-Two’s exact copying adds no new meaning or message—and

any argument Take-Two might make now regarding such new meaning or message is nothing

more than a “head fake” and should be ignored. No outcome in Warhol will affect the fair-use

analysis in this case nor justify Take-Two’s wholesale, facsimile, commercial copying as fair

use. This case should proceed on its current schedule and go to trial on June 14, 2023.

 II.    WARHOL CASE BACKGROUND

        On October 20, 2022, the Court ordered the parties to file, “contemporaneous briefing on

the impact of the U.S. Supreme Court case of Andy Warhol Foundation for Visual Arts, Inc. v.

Goldsmith, which was argued on October 12, 2022. (Dkt. # 201 at 2.) The Court seeks the

parties’ input regarding ‘fair use,’ a mixed question of law and fact that the Court left for trial in

this matter.” (Id.)

        The Copyright Act codified the “fair use” exception to copyright infringement, which

allows some copying for limited purposes such as criticism, comment, news reporting, teaching,

scholarship, and research. See 17 U.S.C. § 107. Section 107 provides four factors that courts

must examine together to determine if a use is “fair”:

         1. The purpose and character of the use, including whether such use is of a
            commercial nature or is for nonprofit educational purposes;



                                                   2
   Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 4 of 17. PageID #: 14727




        2. The nature of the copyrighted work;

        3. The amount and substantiality of the portion used in relation to the copyrighted
           work as a whole; and

        4. The effect of the use upon the potential market for or value of the copyrighted
           work.

       The Supreme Court has held that no one factor is dispositive and there are no “bright-line

rules”—the determination calls for “case-by-case analysis.” Campbell v. Acuff-Rose Music, Inc.,

510 U.S. 569, 577-78 (1994). The statutory factors should not “be treated in isolation, one from

another. All are to be explored, and the results weighed together, in light of the purposes of

copyright.” Id. Likewise, this Court noted in its opinion denying Take-Two’s motion for

summary judgment, “fair use is an open-ended and context-sensitive inquiry.” Hayden v. 2K

Games, Inc., No. 1:17CV2635, 2022 WL 4356211 at *6 (N.D. Ohio, Sep. 20, 2022) (quoting

Blanch v. Koons, 467 F.3d 244, 251 (2d Cir. 2006) (cleaned up.)).

       In Warhol, the Supreme Court is examining only the first factor of this balancing test.

More specifically, the Supreme Court is examining only one aspect of the first factor. Courts

must ask two questions in assessing the first factor: (1) whether an allegedly infringing work is

“transformative,” and (2) whether its purpose is “commercial or noncommercial.” Zomba

Enterprises, Inc. v. Panorama Records, Inc., 491 F.3d 574, 582 (6th Cir. 2007). The question

Petitioner presented to the Supreme Court in Warhol is limited to the first question above—the

“transformative use” analysis of the first fair-use factor:

       This Court has repeatedly made clear that a work of art is “transformative” for
       purposes of fair use under the Copyright Act if it conveys a different “meaning[]
       or message” from its source material. Campbell v. Acuff-Rose Music, Inc., 510
       U.S. 569, 579 (1994); Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1202
       (2021). In the decision below, the Second Circuit nonetheless held that a court is
       in fact forbidden from trying to “ascertain the intent behind or meaning of the
       works at issue.” Pet. App. 22a-23a. Instead, the court concluded that even where a



                                                  3
   Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 5 of 17. PageID #: 14728




       new work indisputably conveys a distinct meaning or message, the work is not
       transformative if it “recognizably deriv[es] from, and retain[s] the essential
       elements of, its source material.” Id. at 24a. The question presented is:

       Whether a work of art is “transformative” when it conveys a different meaning or
       message from its source material (as this Court, the Ninth Circuit, and other
       courts of appeals have held), or whether a court is forbidden from considering the
       meaning of the accused work where it “recognizably deriv[es] from” its source
       material (as the Second Circuit has held).

(Brief for Petitioner at i, Andy Warhol Foundation for Visual Arts v. Goldsmith, No. 21-869

(argued Oct. 12, 2022), 2022 WL 2137072, at *i.)

       The dispute in Warhol dates back to events from over four decades ago. In late 1981,

photographer Lynn Goldsmith photographed the musician Prince at her studio for Newsweek

Magazine. (See Brief for Respondents at 6–7, 2022 WL 3327464, at *6–7.) During the

photoshoot, Prince was noticeably uncomfortable, shy, and reserved, so Goldsmith tried “to get

action” from Prince by applying makeup to him to accentuate his features (i.e., lip gloss to make

the lighting pop, purple eye shadow to highlight Prince’s eyes in an effort to accentuate his

sensuality, and shade to feature Prince’s chiseled bone structure). (Id.)

       Four years later, in 1984, Vanity Fair approached Goldsmith seeking a photograph that

could be used as an “artist reference” for the cover of a magazine that would feature an article

about Prince. (See Brief for Respondents at *10.) Vanity Fair licensed a Goldsmith photograph

for $400, a stipulation that the photograph could only be used in the November 1984 issue, and

other promises from the magazine. (See id. at *10.) Vanity Fair then commissioned Andy

Warhol to create an illustration based on Goldsmith’s photograph. (See id.)

       Warhol used various techniques to adapt “Goldsmith’s intimate depiction [of Prince] into

an ‘iconic, larger-than-life figure,’ stripping Prince of the ‘humanity . . . embodie[d] in [the]

photograph to comment on the manner in which society encounters and consumes celebrity.”

(Petition for a Writ of Certiorari at 10, Andy Warhol Foundation for Visual Arts v. Goldsmith,


                                                  4
   Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 6 of 17. PageID #: 14729




No. 21-869 (argued Oct. 12, 2022), 2021 WL 5913520, at *10.) “Warhol cropped the image to

remove Prince’s torso, resized it, altered the angle of Prince’s face, and changed tones, lighting,

and detail. Warhol also added layers of bright and unnatural colors, conspicuous hand-drawn

outlines and line screens, and stark black shading that exaggerated Prince’s features.” (Id. at *9–

10.) Warhol’s goal was to, “subtly alter[] the photorealistic source material in a variety of ways

that dehumanize the person depicted—and thus imbue the preexisting content with a new

meaning.” (Id. at *8.) Warhol’s end result was “a flat, impersonal, disembodied, mask-like

appearance,” referred to as “Purple Prince.” (Brief for Petitioner at *19.)

                    Goldsmith Photograph                      Purple Prince




Without Goldsmith’s approval, Warhol also made another 15 similarly stylized works based on

the Goldsmith photograph (the “Prince Series”). (See id. at *11.) When Warhol died in 1987, the

Andy Warhol Foundation (“AWF”) assumed ownership of the Prince Series. (See id.at *15.)




                                                 5
   Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 7 of 17. PageID #: 14730




         Decades later, in 2016, Vanity Fair’s parent

company, Condé Nast, entered into a licensing

agreement with AWF to use a different Warhol work

from the Prince Series (“Orange Prince”) and

published a special Prince tribute edition

commemorating the icon after his death. (See id. at

*16.) Condé Nast paid AWF $10,250 to use Orange

Prince. (See id. at *16.) This work is the accused

infringement at issue in Warhol.

         In April 2017, after Goldsmith learned of Orange Prince and informed AWF that it

infringed her copyright, AWF sued Goldsmith in the Southern District of New York for a

declaratory judgment that Orange Prince did not infringe Goldsmith’s copyright or that,

alternatively, AWF’s use was fair. (See id. at *17.)

         The district court granted AWF summary judgment, finding Orange Prince to be fair use,

reasoning that, “[t]he Prince Series works can reasonably be perceived to have transformed

Prince from a vulnerable, uncomfortable person to an iconic, larger-than-life figure.” See Andy

Warhol Foundation for the Visual Arts, Inc. v. Goldsmith, 382 F. Supp. 3d 312, 325-26 (S.D.N.Y

2019).

         On appeal, the Second Circuit reversed the district court, holding that all four factors

weighed against fair use when considered holistically. Andy Warhol Foundation for the Visual

Arts, Inc. v. Goldsmith, 11 F.4th 26, 37 (2d. Cir. 2021). The Second Circuit took particular issue

with the district court’s “transformative use” reasoning, concluding that it “was error” because

“whether a work is transformative cannot turn merely on the stated or perceived intent of the




                                                   6
      Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 8 of 17. PageID #: 14731




artist or the meaning or impression that a critic—or for that matter, a judge—draws from the

work. Were it otherwise, the law may well ‘recogniz[e] any alteration as transformative.’” Id. at

41–42 (quoting 4 Melville B. Nimmer, Nimmer on Copyright § 13.05(B)(6)).

           The Supreme Court granted certiorari in March 2022 and heard oral argument on October

12, 2022. The Petitioner, AWF, has argued that the Second Circuit improperly “rejected a

transformativeness test that considers the meaning or message of an artistic work as part of the

fair use analysis—and instead mandated an inquiry focused on the degree of visual similarity

between the two works.” (Brief for Petitioner, at *2.) In response, the Respondent, Linda

Goldsmith, argues that Petitioner is proposing a new “meaning or message” test for

transformativeness that “is completely unworkable and arbitrary” and that Orange Prince “is a

classic case of nontransformativeness” and asks the Supreme Court to affirm the Second

Circuit’s decision. (Brief for Respondents, at *2–3.)

           As this case was one of the first cases heard in the current Supreme Court session, the

Court could issue a decision anytime from now until the summer recess, which usually begins by

the end of June.1

III.       ARGUMENT

           Here there is no change whatsoever to Mr. Hayden’s works, let alone the exhaustive

modification found in Warhol. Take-Two exactly copies the Tattoos and incorporates them into

its games to appear on a TV or monitor, conveying no new meaning or message. Indeed, Take-

Two takes care to ensure that is the case—meticulously preserving the exact expression in Mr.

Hayden’s Tattoos so that they appear “realistically” in the Accused Video Games. Take-Two

does not argue otherwise. “Realism” is Take-Two’s aim—not a new work of art with an arguably



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    https://www.supremecourt.gov/visiting/visitorsguidetooralargument.aspx


                                                         7
    Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 9 of 17. PageID #: 14732




different meaning or message, like in Warhol. Thus, whether or not the Supreme Court holds that

the new meaning or message of an accused work is relevant to the first fair use factor, Take-

Two’s unauthorized copying will still not be fair use. Thus, the Supreme Court’s decision will

not affect the parties’ trial strategies or arguments. The case should proceed to trial on June 14,

2023, as scheduled.

             A. Unlike the accused work in Warhol, Take-Two concedes that its verbatim copies
                add no new expression to Mr. Hayden’s Tattoos.

        There is no plausible decision in Warhol that would warrant delaying the June 14 trial.2

The Warhol case is about two visually distinct works—the original photograph and the

derivative, an Andy Warhol screen print based on that original photograph. The question before

the Supreme Court is whether Andy Warhol’s visually distinctive artistic work is

“transformative” under the first fair-use factor for conveying a new meaning or message.

According to the Petitioner in Warhol, the photograph depicts Prince as a “vulnerable human

being,” whereas the Warhol print depicts him as an “iconic, larger-than-life figure.” (Brief for

Petitioner, at *24.) This visual distinction, according to Petitioner, conveys a different meaning

and message that makes the Warhol print transformative.

        Take-Two’s copying, on the other hand, is, by its own acknowledgment, categorically

non-transformative. Take-Two’s copying adds no new meaning or message—Take-Two’s

recreations are literal copies of the Tattoos. Take-Two does not dispute this (see Supp. Reply Br.,

Dkt. # 162, p. 6), nor has it ever contended, including at summary judgment (Dkt. # 95-1) or in

its trial brief (Dkt. # 174), that its copies create a “new meaning or message.” This makes the

central issue in Warhol simply inapplicable to this case. Take-Two’s copies were intentionally,



2
 A fortiori, no Warhol decision would change (or even warrant reconsideration of) this Court’s decision denying
Take-Two’s motion for summary judgment.


                                                         8
    Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 10 of 17. PageID #: 14733




pointedly verbatim, thereby scrupulously preserving whatever meaning or message is expressed

in Mr. Hayden’s Tattoos. (Supp. Reply Br., Dkt. # 162, p. 6.) Moreover, this Court has already

held that Take-Two copied Mr. Hayden’s Tattoos, in fact, and that Take-Two intended to make

verbatim copies: “Defendants do not dispute that the NBA Players tattoos are included on the

bodies of the avatars in NBA 2K” and “Take-Two’s purpose was to replicate the NBA Players

exactly as they really look[.]” Hayden, 2022 WL 4356211, at *5. Take-Two did not even try to

“change slight details” of Mr. Hayden’s Tattoos.3

        And to the extent Take-Two claims that the additional gameplay features of the Accused

Games add new message or meaning, that argument is waived—Take-Two did not raise the

argument in its summary judgment briefing (Dkt. # 95-1) or trial brief (Dkt. # 174). Additionally,

as acknowledged in the Warhol Amicus Brief written by Take-Two’s own counsel, “‘the addition

of new expression to an existing work is not a get-out-of-jail-free card that renders the use of the

original transformative’”(Amicus Brief at *18 (quoting Dr. Seuss Enter., L.P. v. ComicMix LLC,

983 F.3d 443, 453–54 (9th Cir. 2020)) and “[i]f the presence of new expression, alone, made use

of a copyrighted work transformative . . . then all derivative works would be transformative as a

matter of law, rendering the derivative work right meaningless.” (Id. at *20.) Take-Two has not

previously claimed any “new meaning” and cannot now argue in earnest that its works convey a

different meaning or message.

        Accordingly, even if the Supreme Court finds in favor of Petitioner and holds that the

Warhol prints are transformative because they convey a new meaning/message, it will not help



3
  In a Brief for Amicus Curiae Association of American Publishers, Take-Two counsel in this case decried the
argument of Petitioner and putative infringer, AWF, that “this Court should overturn centuries of precedent and
long-settled expectations in favor of an unfathomable standard that would make fair use the rule.” Brief for Amicus
Curiae Association of American Publishers in Support of Respondents, 2022 WL 3574327, at *18 (“Amicus Brief”).
“Under Petitioner’s treatment of transformativeness, a secondary user could change slight details of a protected
work and claim immunity from infringement due to the work’s ‘new’ meaning or message.” Id.


                                                        9
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 11 of 17. PageID #: 14734




Take-Two here. Take-Two has not cited any Supreme Court or Sixth Circuit precedent that

would support a transformative use finding, as a matter of law, when the putative infringer has

copied entire works, verbatim, for a commercial purpose. The decision in Warhol will not be the

first. See Campbell, 510 U.S. at 589 (fair use, but not verbatim copying and not the entire

copyrighted work); Google LLC v. Oracle America, Inc., 141 S. Ct. 1183, 1205 (2021) (fair use,

but only 0.4% of work was copied); Harper & Row Publishers, Inc. v. Nation Enterprises, 471

U.S. 539, 562 (1985) (no fair use for commercial copying); Princeton Univ. Press v. Michigan

Document Services, Inc., 99 F.3d 1381, 1386 (6th Cir. 1996) (no fair use for verbatim,

commercial copying); Balsley v. LFP, Inc., 691 F.3d 747, 760 (6th Cir. 2012) (no fair use for

verbatim copying of entire work); Bridgeport Music, Inc. v. UMG Recordings, Inc., 585 F.3d

267, 277 (6th Cir. 2009) (no fair use for verbatim copying that “revealed a dearth of

transformative character”).

       Thus, the Warhol decision will not have any appreciable effect on this case. The Court’s

decision denying Take-Two’s motion for summary judgment, stating that “reasonable jurors

could disagree about whether—or to what extent—Defendants’ use is transformative and what

weight should be accorded to commercialism,” will remain sound and supported by the binding

precedents. Hayden, 2022 WL 4356211 at *6–8.

           B. Any impact from the Warhol Case will be limited to only one aspect of one of the
              four fair use factors; it will not be dispositive of the fair use analysis.

       Even setting aside the fact that the Take-Two’s copies of Mr. Hayden’s Tattoos convey

no new meaning or message, the limited scope of the question posed by Petitioner in Warhol

(“Whether a work of art is ‘transformative’ when it conveys a different meaning or message

from its source material…”) also blunts any potential impact of the prospective Warhol decision

on this case and will not warrant delaying trial. There is no foreseeable scenario in which the



                                                10
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 12 of 17. PageID #: 14735




Warhol decision will reach beyond one element (transformation) in one of the four fair-use

factors (“purpose and character” of the use).

        In assessing the first fair-use factor, courts must ask two questions: (1) is the work

transformative and (2) is the copying for commercial or noncommercial purposes? Zomba

Enterprises, Inc. v. Panorama Records, Inc., 491 F.3d 574, 582 (6th Cir. 2007); 17 U.S.C. § 107.

In its decision denying Take-Two’s summary judgment motion on fair use, this Court considered

both. While finding that (1) “Defendants’ purpose of creating realism and accuracy is

distinguishable from Plaintiff’s aims,” the Court pointedly made no determination that such

purpose rendered Defendants’ copying transformative; and conversely, (2) “[i]t is undisputed

that Defendants’ purpose in developing and marketing the NBA 2K video games is

commercial[.]” Hayden, 2022 WL 4356211, at *6 (emphases added). This Court ultimately

found that “reasonable jurors could disagree about whether—or to what extent—Defendants’ use

is transformative and what weight should be accorded to commercialism.” Id. at 13.

        This will remain the case even after Warhol. First, neither party in Warhol even asked

the Court to alter longstanding precedent that fair use is a mixed question of law and fact, which

a jury should decide when there are genuine issues of material fact. See Reed v. Freebird Film

Productions, Inc., 664 F. Supp. 2d 840, 846 (N.D. Ohio 2009). Juries routinely decide fair use,

including in courts in this Circuit, when fair use is not clear as a matter of law. See, e.g.,

Bridgeport Music, Inc. v. UMG Recordings, Inc., 585 F.3d 267, 278 (6th Cir. 2009) (holding that

the jury’s finding of no fair use despite the work being transformative was reasonable); see also

Balsley v. LFP, Inc., 691 F.3d 747, 761 (6th Cir. 2012) (holding that “the jury was not

unreasonable in weighing the four statutory factors of the fair use defense in Plaintiffs’ favor”).




                                                  11
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 13 of 17. PageID #: 14736




The Warhol decision certainly cannot change either the disputed or undisputed facts in this case,

which the Court has already determined.

       Second, even if the Supreme Court refines the transformative use test in some way, the

fact finder must consider transformative use in light of the adjudicated commercial nature of

Defendants’ use. See Zomba, 491 F.3d at 582. Neither party in Warhol asked the Supreme Court

to excise that statutory requirement. See 17 U.S.C. § 107. In fact, all parties in Warhol agreed

that the commercial nature of copying must be considered and that, in Warhol, it weighs against

the Petitioner. The Petitioner in Warhol conceded at oral argument “that there is a[] commercial

purpose and so that might be a factor that would cut against us when assessing Factor 1.” (Ex. A,

Warhol Oral Argument Excerpt, pp. 9–10.) Thus, at minimum, this Court’s finding that

“reasonable jurors could disagree about . . . what weight should be accorded to commercialism”

will be undisturbed, making fair use as a matter of law inappropriate. Hayden, 2022 WL

4356211 at *7.

       What is more, this Court also found the other three fair-use factors (nature of the work,

amount and substantiality used, and effect on potential market) appropriate for the jury’s

consideration. Id. at *7–8. There is no reason to expect the Supreme Court will opine on any of

those three factors. And neither Petitioner nor Respondent are asking the Court to find the

“purpose and character” factor dispositive in the fair use analysis. The Supreme Court has held

that none of the four factors should “be treated in isolation, one from another. All are to be

explored, and the results weighed together, in light of the purposes of copyright.” Campbell, 510

U.S. at 578. There is no reason to think the Warhol decision will change that. Accordingly,

whatever the Supreme Court holds with regard to the first factor, the other three factors must also

be weighed, which this Court has deferred to the jury. Hayden, 2022 WL 4356211, at * 7–8.




                                                 12
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 14 of 17. PageID #: 14737




       In deferring the three remaining fair-use factors to the jury, this Court found factual

disputes for each. Id. As to the second factor, the nature of the copyrighted work, this Court held

that the Tattoos are “without question, expressive and creative rather than factual and

informational,” which “weighs in Plaintiff’s favor,” but “publication favors Defendants’

position.” Id. at 14. The jury will still have to weigh this factor. As to the third factor, the amount

and substantiality of the portion used in relation to the copyrighted work as a whole, this Court

held that “[t]he Tattoos are used in their entirety, but the degree of observability is up to the jury,

as is the importance of their use to the video game as a whole.” Id. Likewise, the jury will still

have to weigh this factor. As to the fourth factor, the effect on the potential market, this Court

found that “genuine factual disputes are within the jury’s purview.” Id. Again, the jury will have

to weigh this factor, no matter the Supreme Court’s decision in Warhol.

       Neither the applicable legal standard for fair use nor the facts in dispute related to the

four statutory fair-use factors will change because of Warhol—they must be considered, and this

Court’s ruling that they are “within the jury’s purview” will not be affected by the Warhol

decision. Accordingly, there is no reason to delay trial again in this action while awaiting a

Warhol decision that will not change the issues to be adjudicated.

           C. The Parties can proceed to trial despite the pending Warhol decision without risk
              of disruption.

       The prospect of the Warhol decision issuing sometime before or possibly even after the

trial in this case is not a reason to reschedule it again. The focus of the Warhol case is on one

element of one of the four fair-use factors, and Take-Two’s fair use defense is just one of

multiple affirmative defenses it intends to assert at trial. And even within that limited scope, the

wholly disparate context of Warhol compared to this case makes the potential impact of a

decision in the former even more negligible. Petitioner in Warhol asks the Supreme Court



                                                  13
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 15 of 17. PageID #: 14738




whether an otherwise infringing work’s “meaning or message” can determine the transformative

use analysis in the first fair use factor—a question wholly absent from this case.

        Accordingly, the Warhol decision will not alter Plaintiff’s case at trial and, presumably,

should not alter Take-Two’s strategy. Take-Two purportedly intends to assert four affirmative

defenses at trial: (1) fair use, (2) implied license, (3) de minimis use, and (4) waiver. (See Take-

Two Trial Br., Ex. C, Dkt. # 174-3, PageID #: 14134.) The Warhol decision is only even

potentially relevant to its fair use defense, and only one element of one factor in that. Particularly

telling, Take-Two’s fair use argument is that it “uses the six tattoos at issue [] for a different,

transformative purpose” (see Take-Two Summary Judgment Brief, p. 2, Dkt. # 95-1, p. 2)—not

that Take-Two transformed the Tattoos to convey a new meaning or message. Take-Two’s

proposed jury instruction for the first fair use factor does not even mention “meaning or

message.” (See Take-Two Trial Br., Ex. C, Dkt. # 174-3, PageID #: 14138.) And to the extent

the Warhol decision issues before trial and arguably provides some guidance Take-Two claims is

relevant to its “different purpose” argument, Take-Two can either incorporate it into its revised

proposed jury instructions, which are not due until April 20, 2023 (see Dkt. #202) or move for

leave to revise its jury instructions before trial, if warranted. The trial in this case has already

been postponed. The remote possibility that the Warhol decision may prompt a party to propose

a likely insubstantial revision to one of dozens of jury instructions is simply not a good (or

sufficient) reason to further delay trial.

IV.     CONCLUSION

        It is extremely unlikely that the Warhol decision—any Warhol decision—will impact this

case. The narrow issue before the Supreme Court deals with a single element in one fair-use

factor, based on an argument that Take-Two has not previously made (and cannot make) in this




                                                   14
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 16 of 17. PageID #: 14739




case. Fair use is context-specific, and the facts and circumstances of the Warhol case are far

removed from those in this case. Trial should proceed as presently re-scheduled—Mr. Hayden is

ready to adjudicate his claims.



Dated: March 13, 2023                                Respectfully submitted,

                                                     By: /s/ Andrew Alexander
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                                                15
  Case: 1:17-cv-02635-CAB Doc #: 206 Filed: 03/13/23 17 of 17. PageID #: 14740




                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2023, a copy of the foregoing was filed electronically.

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                                                       /s/ Andrew Alexander
                                                      One of the attorneys for Plaintiff




                                                 16
